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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


Doctors Nursing and                             )
Rehabilitation Center, LLC, et                  )
al.,                                            )
                                                )
                     Plaintiffs,                )
                                                )
                                                )
       v.                                       )   No.   1:16-cv-9837
                                                )   No.   1:16-cv-9842
Felicia F. Norwood, in her                      )   No.   1:16-cv-9922
official capacity as the                        )   No.   1:16-cv-10255
Director of the Illinois                        )   No.   1:16-cv-10614
Department of Healthcare and                    )   No.   1:17-cv-0104
Family Services,                                )   No.   1:17-cv-0640
                                                )
                     Defendant,                 )
                                                )
and related cases.                              )


                         Memorandum Opinion and Order

       In these related cases, several healthcare providers and

their patients in the State of Illinois seek declaratory and

injunctive       relief     against        the      Director    of    the    Illinois

Department of Healthcare and Family Services (“HFS”), Felicia

Norwood, in her official capacity. Plaintiffs allege that the

defendant      has    failed    to    process        Medicaid     applications     and

provide      Medicaid      benefits        with      reasonable      promptness     to

residents of long-term care facilities in violation of Title XIX

of    the    Social    Security      Act    (the      “Medicaid      Act”)   and   its

implementing regulations, the Americans with Disabilities Act

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(“ADA”), the Rehabilitation Act, and the Fourteenth Amendment.

Before me is defendant’s motion to dismiss for lack of subject

matter jurisdiction and for failure to state a claim upon which

relief can be granted [Case. No. 1:16-cv-9837, ECF No. 36]. For

the reasons set forth below, I deny defendant’s motion.

                                               I.

       Plaintiffs         in   these     seven       related     cases    are       Illinois

healthcare providers and certain elderly and disabled patients

they   serve.       The    healthcare         provider    plaintiffs      are       Illinois

healthcare      companies         owning       and/or     operating       nursing          home

facilities throughout the state of Illinois. These facilities

provide      twenty-four        hour,    long-term       nursing      care     to    elderly

patients      and    patients         with    disabilities,       some    of     whom      are

Medicaid applicants or beneficiaries.

       The    patient      plaintiffs         are    residents    at     the    healthcare

provider      plaintiffs’        long-term          nursing    care    facilities.         The

patient      plaintiffs        fall    into    two    groups:    (1)     those       who   are

awaiting Medicaid eligibility determinations and (2) those who,

despite      receiving         approval,        are      still    awaiting          Medicaid

benefits.

       The healthcare provider plaintiffs purport to serve as the

patient       plaintiffs’         “authorized          representatives”             for     the

purposes of pursuing Medicaid benefits pursuant to 42 C.F.R. §



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435.923. The patient plaintiffs also bring suit on their own

behalves.

       Defendant is Felicia Norwood, the Director of the Illinois

Department of Healthcare and Family Services, who is sued in her

official capacity. HFS is a state agency charged with operating

Illinois’s      Medicaid       program.         Two     of     the     complaints    also

separately list HFS as a defendant.1

       Plaintiffs     allege    that    defendant            Norwood     has   failed   to

provide medical care services to eligible Illinois residents as

required by the Medicaid Act. Specifically, plaintiffs charge

that    defendant     has    failed     to       process        plaintiffs’      Medicaid

applications,       render     eligibility        determinations,          and    provide

benefits with reasonable promptness. They allege that HFS has

exceeded the forty-five days or ninety days that the Medicaid

regulations       permit       to     determine              applicant     eligibility.

Plaintiffs further allege that defendant has failed to provide

benefits to the patient plaintiffs who have had their Medicaid

applications       approved.        HFS’s       inaction        on     these     matters,

plaintiffs      allege,      violates       42        U.S.C.    §§     1396a(a)(10)(A),

1396d(a)(4)(A), and 1396a(a)(8). Additionally, plaintiffs assert

that these inactions constitute violations of the ADA, Section

504 of the Rehabilitation Act, and the Equal Protection Clause


1
  See Case No. 1:16-cv-9842 [ECF No. 12]; Case No. 1:16-cv-10255
[ECF No. 3].
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of    the   Fourteenth        Amendment.         Plaintiffs           seek     injunctive        and

declaratory relief to ensure the defendant’s future compliance

with the Medicaid statute.

                                             II.

       Defendant moves to dismiss the seven complaints against her

because,       she     argues,        this           court       lacks       subject        matter

jurisdiction to hear the cases and plaintiffs fail to state

claims      upon     which    relief       may       be    granted.       When       considering

motions to dismiss for failure to state a claim or lack of

subject matter jurisdiction, I “take as true all well-pleaded

factual     allegations        in    the   complaint            and    make     all   plausible

inferences      from    those       allegations           in    the    plaintiffs'         favor.”

Disability         Rights    Wisconsin,      Inc.          v.       Walworth    Cty.       Bd.    of

Supervisors, 522 F.3d 796, 799 (7th Cir. 2008); see Scanlan v.

Eisenberg, 669 F.3d 838, 841 (7th Cir. 2012) (applying the same

standard      to    Rule     12(b)(1)      motions).           To     survive    a    motion      to

dismiss under Rule 12(b)(6), a complaint must provide factual

allegations that, if taken as true, “state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007). Similarly, a complaint will survive a

facial challenge to jurisdiction brought under a Rule 12(b)(1)

motion to dismiss if it “has sufficiently alleged a basis of

subject      matter     jurisdiction.”            Apex         Digital,      Inc.     v.    Sears,

Roebuck & Co., 572 F.3d 440, 443 (7th Cir. 2009).

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       A. Lack of Subject Matter Jurisdiction

       Defendant         contends    that       all    seven     complaints        should       be

dismissed for lack of subject matter jurisdiction. In her motion

to     dismiss,       defendant          initially          challenged       this         court’s

jurisdiction to hear these cases on Article III standing and

Eleventh Amendment grounds. Defendant subsequently dropped her

Article III challenge in her reply brief, and I will therefore

not    address      it    here.     Def.’s      Reply       at   3   [ECF    No.     45].       The

defendant        does      continue        to       challenge         the     institutional

plaintiffs'       authority         to     sue        on    behalf      of     the        patient

plaintiffs, but, because the patients themselves are plaintiffs

asserting a cognizable injury, this issue does not implicate my

subject      matter       jurisdiction       and      is     better     understood         as    a

challenge arising under Rule 12(b)(6), as discussed below. See

Whelan v. Abell, 953 F.2d 663, 672 (D.C. Cir. 1992).

       Defendant’s remaining jurisdictional argument concerns the

Eleventh Amendment. Defendant contends that plaintiffs’ claims—

with the exception of those brought under the Rehabilitation

Act—are barred by the Eleventh Amendment and the doctrine of

state     sovereign        immunity       because          plaintiffs       seek     an    order

compelling payments for services already rendered. Plaintiffs

counter      that        they     seek     only       prospective           injunctive       and

declaratory relief to ensure defendant’s future compliance with

federal law.

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      The     Eleventh     Amendment        states      that    federal         jurisdiction

shall   not    extend      to    suits     against      a    state    by    a    citizen    of

another state or foreign country. U.S. Const. amend. XI. In

addition      to    what        it   explicitly        guarantees,          the     Eleventh

Amendment also incorporates the doctrine of sovereign immunity.

See   Hans    v.    Louisiana,       134    U.S.   1,       13-14    (1890).       Thus,   the

Amendment “guarantees that ‘an unconsenting State is immune from

suits brought in federal courts by her own citizens as well as

by citizens of another State.’” Bd. of Regents v. Phoenix Int'l

Software,     Inc.,     653      F.3d    448,    457    (7th    Cir.       2011)    (quoting

Edelman v. Jordan, 415 U.S. 651, 662–63 (1974)).

      The Eleventh Amendment’s bar on citizens suing their state,

however, is not complete. There are several common exceptions

that allow plaintiffs to pursue claims against a state or its

agents. One such exception was first articulated in Ex Parte

Young, 209 U.S. 123 (1908). There, the Supreme Court held that

the Eleventh Amendment does not preclude claims against state

officials     for    prospective,          injunctive       relief     to    stop    ongoing

violations of federal law. Ex Parte Young, 209 U.S. at 159-60.

While a federal court cannot order a state to pay retrospective

damages, it can require a state officer to prospectively comply

with federal law, even when that compliance might require the

state to expend funds. See Milliken v. Bradley, 433 U.S. 267,

289-90 (1977).

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       This is what plaintiffs seek here. Plaintiffs sue Director

Norwood in her official capacity as defendant.2 In these cases,

plaintiffs      seek    declaratory      and    injunctive      relief      requiring

defendant Norwood to process applications and provide benefits

in     accordance      with   the   Medicaid        Act   and   its   implementing

regulations. Importantly, plaintiffs are not requesting money

damages for past violations, nor are they attempting to bring

state claims against a state actor in federal court. Rather,

plaintiffs seek to stop defendant’s ongoing conduct—or, in this

case, inaction—that they allege violates federal law. They ask

me     to   declare     defendant’s      conduct      unlawful      and     issue   an

injunction       “requiring      [defendant]        to    arrange     for     medical

assistance and nursing facility services” for plaintiffs. Pls.’

2d Am. Compl. at 16 [Case No. 1:16-cv-9837; ECF No. 21]. The

Eleventh Amendment permits such relief.

       In sum, the prospective equitable relief that plaintiffs

seek     against    Director     Norwood       in   her   official    capacity      is




2
  In Case No. 1:16-cv-9837, Case No. 1:16-cv-10614, Case No.
1:16-cv-9922, Case No. 1:17-cv-0104, and Case No. 1:17-cv-0640,
plaintiffs sue only Director Norwood. In the other two, Case No.
1:16-cv-9842 and Case No. 1:16-cv-10255, plaintiffs also name
the Illinois Department of Healthcare and Family Services as a
defendant. As defendant notes, HFS, as a state agency, is an arm
of the state of Illinois, and therefore may not be sued by its
citizens in federal court. See Edelman, 415 U.S. at 663; Burrus
v. State Lottery Comm'n of Ind., 546 F.3d 417, 420 (7th Cir.
2008).
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permitted        under       Ex     Parte       Young.         This   court       therefore       has

jurisdiction to hear these matters.

        B. Failure to State a Claim

        In     her    motion        to    dismiss,         defendant        asserts       that    the

complaints       fail       to     state    claims         for   several      reasons.      First,

defendant challenges the healthcare providers’ authority to file

suit, arguing that they are not the real parties in interest and

do     not     have        statutory       authority            to    sue    on     the     patient

plaintiffs’ behalves. Second, defendant argues that plaintiffs

fail     to     sufficiently             plead       Count       II    in    each     complaint,

concerning           the     provision          of       required      medical       assistance.

Finally, defendant contends that Count III in each complaint,

concerning the prompt delivery of Medicaid benefits, fails to

state a claim because the applicable provision of the Medicaid

statue does not create enforceable rights and, even if it did,

plaintiffs do not provide sufficient allegations.

                1. Real Party in Interest/Authority to Bring Suit

        Defendant          argues    that       dismissal        is   required      because       the

healthcare       provider           plaintiffs           are   not    the    real     parties     in

interest       and    cannot        sue    on    their         patients’     behalves.      Def.’s

Reply     at    3-5.        This     argument        fails       because      it    ignores       the

patients’ participation in these suits. Defendant focuses on the

status of the institutional plaintiffs, but she notably does not

contend       that     the       real     parties        in    interest—the        nursing       home

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patients—are absent from this litigation. On the contrary, the

patients    are    plaintiffs    in    these   lawsuits.      Because       the   real

parties in interest are prosecuting their own claims, no counts

require dismissal. See Fed. R. Civ. P. 17(a).

     In any event, I also find that the patient plaintiffs may

authorize their representatives to pursue litigation to secure

Medicaid benefits. I reach this conclusion by looking to the

Medicaid statute and regulations. See In re Davis, 194 F.3d 570,

578 (5th Cir. 1999) (“[A]n entity is the real party in interest

when it is statutorily authorized to bring suit to enforce a

claim. . . . The statutory right to sue must stem from the

substantive law controlling the action and may be granted by

either state or federal law”); New York v. Cedar Park Concrete

Corp., 665 F. Supp. 238, 241 (S.D.N.Y. 1987) (citing 3A J. Moore

& J. Lucas, Moore's Federal Practice, ¶ 17.14 (2d ed. 1986))

(“Under    Rule    17(a),    a   party   may   sue    on     behalf    of    one   it

represents as long as the relevant underlying federal and state

statutes authorize such a suit.”). The Social Security Act, of

which Medicaid is a part, directs the Secretary of Health and

Human     Services    (“HHS”)     to     publish     rules     and    regulations

“necessary    to     the    efficient    administration”       of     the    federal

programs that HHS is charged with overseeing. 42 U.S.C. § 1302.

Pursuant to this authority, HHS published 42 C.F.R. § 435.923,

which permits a Medicaid applicant or beneficiary to authorize a

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representative to act on his or her behalf “in applying for and

maintaining coverage.” 78 Fed. Reg. 42174 (July 15, 2013). This

representative       can   be    an    individual     or     an    organization.       42

C.F.R.      §     435.923(b).3        The    regulations          permit    authorized

representatives       to   perform      the      following    tasks       for   Medicaid

applicants and beneficiaries:

       (1) Sign an application on the applicant's behalf;
       (2) Complete and submit a renewal form;
       (3) Receive copies of the applicant or beneficiary's
       notices and other communications from the agency;
       (4) Act on behalf of the applicant or beneficiary in
       all other matters with the agency.

42 C.F.R. § 435.923(b). The Federal Register entries regarding

this     provision      state     that      the     applicant        or    beneficiary

ultimately defines the scope of any representation within the

limits of the regulation.4 78 Fed. Reg. 42175 (July 15, 2013).

       The regulatory text does not explicitly address whether a

patient     can    authorize     a     Medicaid     representative         to   file    a


3
  See also 78 Fed. Reg. 42174 (July 15, 2013) (“We believe that
there are situations in which an individual may need an
organization to serve as his or her authorized representative
and it is appropriate for an organization to serve in this
capacity, such as for individuals residing in a nursing home who
do not have family available to assist them.”).
4
   The regulatory history also clarifies that states are not
permitted   to    impose   additional   requirements   on   this
representative relationship. 78 Fed. Reg. 42174 (“[S]tates may
not limit authorized representatives to individuals identified
in such a legal document or granted authorization under
operation of state law or otherwise impose requirements other
than those listed in § 435.923 on other individuals whom an
applicant or beneficiary wishes to have serve as his or her
authorized representative.”).
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lawsuit on his or her behalf. Defendant argues that the phrase

“matters with the agency” in 42 C.F.R. § 435.923(b)(4) should be

construed      to    exclude       bringing       a    suit      against         the    agency.

Plaintiffs counter that permitting authorized representatives to

bring claims against the agency is necessary to ensure that

beneficiaries can secure the Medicaid benefits to which they are

entitled.      The        regulations       might        not     explicitly             sanction

lawsuits,      plaintiffs         argue,    but       they     also    do     not      limit    a

beneficiary’s        power        to    assign        authority        to     his       or     her

representative.

        Defendant’s       restrictive       interpretation            of    the    authorized

representative relationship does not comport with the language

and purpose of the regulation. 42 C.F.R. § 435.923(b) provides

three     specific         examples        of     duties        that        an     authorized

representative       may     perform       in   the     course        of    representation,

followed by one catch-all provision. The catch-all clause is

written in broad terms. It states that a beneficiary can choose

to authorize her representative to handle “all other matters

with     the   agency.”       42       C.F.R.     §    435.923(b)(4).             It    is   the

beneficiary who sets the limits of representation, see 78 Fed.

Reg.     42175,     and     the    expansive          language    of        this       provision

apparently permits beneficiaries to set these parameters quite

broadly.



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        There is no indication that the words “with the agency”

were      included      in    the    regulatory       text    to   limit    authorized

activities        to     those      internal     to     the    applicable      agency.

Litigation arguably involves “matters with the agency” as well.

A beneficiary’s legal claim that an agency has deprived her of

Medicaid benefits, for instance, is a matter in dispute with

that agency. While the first three tasks listed in 42 C.F.R. §

435.923(b)        are    likely     more    common      activities      performed    by

authorized representatives, there is room in the regulation’s

text for the representative relationship, in unusual cases such

as     these,    to     require     additional    steps,      like    litigation,    to

secure a beneficiary’s rights. So long as the beneficiary gives

express authorization to his or her representative, as required

by 42 C.F.R. § 435.923(a), the Medicaid regulations allow the

authorized representative to initiate suit on the beneficiary’s

behalf. The healthcare provider plaintiffs may therefore remain

in these suits.

                2. Failure to provide medical assistance

        In Count II of their complaints, plaintiffs allege that

defendant, in her official capacity as the Director of HFS, has

failed to comply with the Medicaid Act’s requirement under 42

U.S.C.      §    1396a(a)(10)(A)         that    certain      medical      assistance,

including        nursing      facility     services,     be    made     available    to

Medicaid-eligible            individuals.      Defendant      acknowledges    that   a

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private       right     of     action      exists      to      enforce    section

1396a(a)(10)(A). Def.’s Memo at 9 [Case No. 1:16-cv-9837; ECF

No. 37]; Def.’s Reply at 8 n.3 [Case No. 1:16-cv-9837; ECF No.

45].5 However, she contends that plaintiffs have not sufficiently

pled violations of this section and, consequently, have failed

to state claims upon which relief can be granted. Def.’s Reply

at 8. Specifically, defendant argues that the complaints contain

no allegations that Director Norwood has failed to authorize

necessary nursing facility services, nor any allegations that

the    patient    plaintiffs     have   been   denied       these   services.   Id.

       Defendant misstates plaintiffs’ allegations. The complaints

do, in fact, contain allegations concerning defendant’s failure

to provide nursing facility services to the patient plaintiffs.

For example, in the lead complaint, plaintiffs identify Clint

Daugherty as a patient who has not received necessary medical

assistance from HFS. Plaintiff Daugherty “suffers from chronic

and severe medical conditions” and requires “twenty-four hour

skilled nursing care” for which he is unable to pay. Pls.’ 2d


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  The Seventh Circuit has, indeed, held that the provision
plaintiffs cite—42 U.S.C. § 1396a(a)(10)(A)—creates enforceable
individual rights by requiring state Medicaid plans to “provide
. . . for making medical assistance available . . . to all
[eligible] individuals.” Bontrager v. Indiana Family & Soc.
Servs. Admin., 697 F.3d 604, 606-07 (7th Cir. 2012); Miller v.
Whitburn, 10 F.3d 1315, 1319-20 (7th Cir. 1993); see also
Planned Parenthood of Ind., Inc. v. Comm'r of Ind. State Dep't
Health, 699 F.3d 962, 975-76 (holding that 42 U.S.C. §
1396a(a)(23) also creates an enforceable right).
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Am. Compl. ¶¶ 5, 23 [Case No. 1:16-cv-9837; ECF No. 21]. Despite

submitting         a     Medicaid        application          on    June     28,   2016,       Mr.

Daugherty had not received public assistance by the time the

second amended complaint was filed on January 11, 2017. Id. ¶¶

5,    26.    As    a     result,    plaintiffs       state         that    Daugherty     had   an

outstanding            balance     of    $31,003.68       for       the    nursing      care   he

received at Doctors Nursing and Rehabilitation Center, LLC. Id.

¶    5.    Defendant       Norwood’s       failure       to    timely      process      Medicaid

applications like plaintiff Daugherty’s, plaintiffs allege, has

resulted          in     Medicaid        eligible        individuals         not     receiving

necessary medical assistance from the state of Illinois plan, as

required by 42 U.S.C. §§ 1396a(a)(10)(A), 1396d(a)(4). Id. ¶¶

23-34, 51-53. Plaintiffs therefore claim that defendant Norwood

has deprived the patient plaintiffs of their right to nursing

facility      care        under    the    color     of    state       law.    These      factual

allegations are sufficient to survive a motion to dismiss.

              3. Failure to timely provide medical services

          In Count III of each complaint, plaintiffs bring a section

1983 claim alleging that defendant has violated their rights

under 42 U.S.C. § 1396a(a)(8) by failing to issue eligibility

determinations and provide medical assistance with reasonable

promptness.            Defendant    argues    that       plaintiffs        have    no    private

right of action under section 1983 to enforce these timeliness

provisions. Defendant further asserts that, even if a private

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right of action were available, plaintiffs have not sufficiently

alleged violations of the timeliness provisions.

       The   Medicaid     Act    requires      that     benefits       be     provided

promptly. States that participate in Medicaid must “provide that

all    individuals       wishing    to    make     application         for     medical

assistance under the plan shall have opportunity to do so, and

that    such      assistance    shall     be     furnished      with        reasonable

promptness        to    all    eligible       individuals.”       42        U.S.C.     §

1396a(a)(8).      The   Medicaid    regulations       clarify   the        meaning    of

“reasonable       promptness”      by    providing      time    limitations           for

certain agency actions. For instance, state Medicaid agencies

have ninety days to determine the eligibility of applicants who

apply for Medicaid on the basis of disability and forty-five

days to determine the eligibility of all other applicants. 42

C.F.R. § 435.912(c)(2). They must “promptly and without undue

delay consistent with [these] timeliness standards . . . furnish

Medicaid     to    eligible     individuals”      who    apply.       42     C.F.R.     §

435.911(c)(1); see also 42 C.F.R. § 435.930. State agencies must

also pay all Medicaid claims within 12 months of the date of

receipt. 42 C.F.R. § 447.45(d). By requiring states to follow

these and other timeliness standards, HHS ensures that Medicaid-

eligible       individuals       receive       benefits        with         reasonable

promptness.



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       For plaintiffs to be able to privately enforce Medicaid’s

reasonable promptness requirement, as they seek to do here, 42

U.S.C.     §      1396a(a)(8)       must        create      an    enforceable         right

appropriate for section 1983 prosecution. Section 1983 provides

a “federal remedy against anyone who, under the color of state

law, deprives ‘any citizen of the United States . . . of any

rights, privileges, or immunities secured by the Constitution

and laws.’” Planned Parenthood of Ind., Inc. v. Comm'r of Ind.

State Dep't Health, 699 F.3d 962, 972 (7th Cir. 2012) (quoting

42 U.S.C. § 1983). It thus creates a private right of action for

aggrieved        persons    to     enforce       federally-protected          individual

rights    arising     under       federal    statutes       and   the       Constitution.

Maine v. Thiboutot, 448 U.S. 1, 4-5 (1980); Wilder v. Va. Hosp.

Ass’n,    496     U.S.     498,    508   (1990).      “To    state      a    claim    under

[section] 1983, a plaintiff must allege the violation of a right

secured     by     [federal       law]   and     must    show     that      the    alleged

deprivation was committed by a person acting under color of

state law.” L.P. v. Marian Catholic High Sch., 852 F.3d 690, 696

(7th   Cir.      2017)     (quoting      West    v.   Atkins,      487      U.S.     42,   48

(1988)).

       Section 1983 provides a means of enforcing federal rights,

not vague or diffuse interests. Gonzaga Univ. v. Doe, 536 U.S.

273, 283 (2002). To determine whether a federal statute creates

individual       rights     appropriate         for   section     1983      enforcement,

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courts      assess    whether:     (1)    Congress         intended     the   statutory

provision to benefit the plaintiff; (2) the asserted right is

not “so vague and amorphous that its enforcement would strain

judicial competence”; and (3) the statutory provision employs

mandatory, not precatory, language. Planned Parenthood, 699 F.3d

at 972–73 (quoting Blessing v. Freestone, 520 U.S. 329, 340–41

(1997)). In short, the statute must contain unambiguous “rights-

creating language.” Id. at 973.

        Applying these factors to 42 U.S.C. § 1396a(a)(8), many

circuits have concluded that an enforceable right exists. See

Romano v. Greenstein, 721 F.3d 373, 379 (5th Cir. 2013); Doe v.

Kidd, 419 F. App’x 411, 416 (4th Cir. 2011), reaff’g 501 F.3d

348, 356-57 (4th Cir. 2007); Sabree ex rel. Sabree v. Richman,

367 F.3d 180, 183 (3d Cir. 2004); Bryson v. Shumway, 308 F.3d

79, 89 (1st Cir. 2002); Doe v. Chiles, 136 F.3d 709, 719 (11th

Cir. 1998). The Seventh Circuit has stated that it assumes that

42     U.S.C.    §   1396a(a)(8)     creates          an   enforceable    right.    See

Bertrand ex rel. Bertrand v. Maram, 495 F.3d 452, 457–58 (7th

Cir. 2007).

        Following the well-reasoned decisions of the circuits that

have squarely decided this issue, I find that the reasonable

promptness       provision      contains        the    necessary      rights-creating

language      for    section    1983     enforcement.        First,     the   language

Congress      used    in   42    U.S.C.    §     1396a(a)(8)       is    unambiguously

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intended to benefit specific individuals, namely all persons who

meet    the      Medicaid     eligibility            standards.      Here,        the    patient

plaintiffs allege that they meet the Medicaid Act’s eligibility

standards.        They     can     therefore          be     considered       the       intended

beneficiaries. Second, the reasonable promptness provision is

“not so ‘vague and amorphous’ that its enforcement would strain

judicial competence.” Blessing, 520 U.S. at 340–41. As the Fifth

Circuit        has    explained,         the     statute       and    the         accompanying

regulations “clarify the scope of the ‘reasonable promptness’

duty.” Romano, 721 F.3d at 379. Courts are therefore not left to

guess     what       42   U.S.C.     §    1396a(a)(8)         protects.       Finally,       the

mandatory language of the reasonable promptness provision—the

use of “shall” and “must”—indicates that Congress intended to

impose a “binding obligation on the States.” Id. Nothing in the

statutory       text      suggests       that     this     commitment        to     reasonable

promptness was just aspirational or conditional. An enforceable

right under section 1983 therefore exists.6

        To the extent that defendant challenges the sufficiency of

plaintiffs’ allegations in Count III, these arguments fail for

the     same     reasons     they        failed       with    respect        to     Count    II.

Plaintiffs       have     properly       alleged       violations       of    42        U.S.C.   §


6
  There is also no indication that Congress intended to foreclose
section 1983 enforcement of the Medicaid Act. See Wilder, 496
U.S. at 522-23; Planned Parenthood, 699 F.3d at 974-75; Doe v.
Kidd, 501 F.3d 348, 356 (4th Cir. 2007).
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1396a(a)(8)     by    defendant      Norwood,    depriving        them   of     their

federally protected rights to reasonable promptness. Plaintiffs

have identified specific Medicaid-eligible patients who have not

received    timely    eligibility      determinations       or    timely      medical

assistance. See, e.g., Pls.’ 2d Am. Compl. ¶¶ 5-11 [Case No.

1:16-cv-9837,    ECF    No.   21].     They   have   identified      the      medical

services they require. Id. They have provided the application

dates for these individuals and have alleged that they have not

timely     received    the    public     assistance    to        which   they     are

entitled. Id. ¶¶ 5-11, 23-34, 54-58. Plaintiffs have provided

enough factual allegations to state their section 1983 claims.

                                       III.

     For the foregoing reasons, defendant’s motion to dismiss is

denied.

                                              ENTER ORDER:




                                              ________________________
                                              Elaine E. Bucklo
                                              United States District Judge
Dated: June 7, 2017




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